Exhibit D
                                     CONFIDENTIAL

                                                                       Page 1

 1                    UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF WISCONSIN
 3      - - - - - - - - - - - - - - - - - - - - - - - - - - -
        FULL CIRCLE UNITED, LLC,
 4
                            Plaintiff,
 5
                vs.                                    Case No.
 6                                                     1:20-cv-03395
        BAY TEK ENTERTAINMENT, INC,
 7
                         Defendant.        CONFIDENTIAL
 8      _______________________________
 9      BAY TEK ENTERTAINMENT, INC.,
10                 Counterclaim Plaintiff,
11       vs.
12      FULL CIRCLE UNITED, LLC,
13                 Counterclaim Defendant,
14       and
15      ERIC PAVONY,
16                 Additional Counterclaim
                   Defendant.
17
        - - - - - - - - - - - - - - - - - - - - - - - - - - - -
18
                                 CONFIDENTIAL
19                  VIRTUAL VIDEO-RECORDED DEPOSITION OF:
                               LARRY TREANKLER
20
                      TAKEN AT:    The Witness's Residence
21
                        LOCATED AT: 6747 Kawula Lane
22                           Sobieski, Wisconsin
23                              July 12, 2022
                            9:24 a.m. to 7:12 p.m.
24
                 REPORTED BY: VICKY L. ST. GEORGE, RMR.
25      - - - - - - - - - - - - - - - - - - - - - - - - - - - -
        JOB NO. 5304329

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 1      Q.     Did you -- did anyone at Bay Tek to your knowledge
 2             tell Full Circle why Bay Tek was pausing its efforts?
 3                       MS. LEPERA:     Objection to form.
 4                       THE WITNESS:      Yes.
 5      BY MS. CASADONTE-ASPSTOLOU:
 6      Q.     And what was the reason for the pause Bay Tek
 7             communicated to Full Circle?
 8      A.     Can you repeat the question?
 9      Q.     Did Bay Tek communicate -- what was the reason to
10             communicate to Full Circle for the pause?
11      A.     We had asked them if we could do a nonrevenue
12             generating tournament for the football team that we
13             own, and they wanted to do a contract to do that.
14             And after we had made them 10 lanes and stopped
15             everything that we were doing to pull that off for
16             them, take my people off of other projects and do it
17             all hands on deck effort to produce those things for
18             them, that really irritated us.            And then we found
19             out that they were recording us, and that was
20             double -- that was double irritating.
21      Q.     Do you know what resources Bay Tek invested in
22             manufacturing the 10 custom lanes for Full Circle?
23      A.     Sure.
24                       MS. LEPERA:     Object to the form.         Go
25             ahead.

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 1                       MS. LEPERA:      I want to put on the record
 2             my objection to the form to the extent it implies or
 3             assumes any obligation to continue.         Subject to
 4             that, you may answer.
 5                       COURT REPORTER:         I'd like you to repeat
 6             the question because it was interrupted.
 7      BY MS. CASADONTE-ASPSTOLOU:
 8      Q.     When did Bay Tek -- did Bay Tek ever make a decision
 9             prior to this litigation to stop manufacturing NSBL
10             lanes for Full Circle?
11                       MS. LEPERA:      My objection is that it
12             assumes facts not in evidence, i.e., an obligation
13             to continue.   Subject to that, you can answer.
14                       THE WITNESS:       I don't know that we
15             specifically said we are not going to continue or
16             that we're going to stop.         That became apparent by
17             the way the relationship was going.
18      BY MS. CASADONTE-ASPSTOLOU:
19      Q.     What do you mean by the way the relationship was
20             going?
21      A.     It just was not going well.
22      Q.     Do you recall when the relationship between Bay Tek
23             and Full Circle in Bay Tek's opinion stopped going
24             well?
25      A.     Well, I gave you the two instances that were

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 1             material.    Prior to that most of our angst was how
 2             pushy they were, how aggressive they were and how it
 3             was pretty much everything was on our dime, on our
 4             nickel.
 5      Q.     Did you at any time prior to the manufacture of the
 6             NSBL lanes for Full Circle tell Full Circle that Full
 7             Circle could stop trying to raise money from third
 8             parties to manufacture the NSBL lanes?
 9                         MS. LEPERA:     Objection, form of the
10             question.
11                         THE WITNESS:      That they could stop trying
12             to raise money?
13      BY MS. CASADONTE-ASPSTOLOU:
14      Q.     Yes.
15      A.     No, not to my knowledge.
16      Q.     Did you ever tell Full Circle prior to the delivery
17             of the NSBL lanes to Full Circle that Bay Tek wanted
18             to invest in the manufacture of the NSBL lanes?
19                         MS. LEPERA:     Objection to the form of the
20             question, vague and ambiguous, assumes facts not in
21             evidence.    You can answer if you understand.
22                         THE WITNESS:      I don't understand it.     In
23             the cost of manufacture or -- I'm confused.
24      BY MS. CASADONTE-ASPSTOLOU:
25      Q.     Okay.   Did you ever tell Full Circle at any time that

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